 1   KATHY J. HUANG (SBN 240677)
     kathy.huang@alston.com
 2   RACHEL E. K. LOWE (SBN 246361)
 3   rachel.lowe@alston.com
     ALSTON & BIRD LLP
 4   333 S. Hope Street, 16th Floor
     Los Angeles, California 90071
 5   Telephone: (213) 576-1000
     Facsimile: (213) 576-1100
 6
 7   Attorneys for Defendant
     COLONIAL PENN LIFE
 8   INSURANCE COMPANY
 9                       UNITED STATES DISTRICT COURT
10                      EASTERN DISTRICT OF CALIFORNIA

11   MARK COLE, on behalf of himself and all    Case No.
     others similarly situated and aggrieved,
12                                              State Case No.: 23CV012045
                Plaintiff,
13
                                                DEFENDANT COLONIAL PENN
14        v.                                    LIFE INSURANCE COMPANY’S
                                                NOTICE OF REMOVAL
15   COLONIAL PENN LIFE INSURANCE
     COMPANY; and DOES 1 to 50, inclusive
16                                              Filing Date: December 22, 2023
17              Defendants.

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                                  NOTICE OF REMOVAL
 1   TO THE CLERK OF THE UNITED STATES DISTRICT COURT, EASTERN
 2   DISTRICT OF CALIFORNIA:
 3         PLEASE TAKE NOTICE that Defendant Colonial Penn Life Insurance
 4   Company (“Defendant”) hereby removes the above-captioned case, entitled Mark Cole,
 5   et al. v. Colonial Penn Life Insurance Company et al., originally filed in the Superior
 6   Court of the State of California, County of Sacramento and assigned Case No.
 7   23CV012045 (the “State Court Action”) to this Court under 28 U.S.C. §§ 1332, 1446,
 8   and 1453, as amended in relevant part by the Class Action Fairness Act of 2005
 9   (“CAFA”). The grounds for removal are set out below:
10   I.    BACKGROUND
11         On November 20, 2023, Plaintiff Mark Cole (“Plaintiff”) filed the State Court
12   Action alleging claims for violation of the California Invasion of Privacy Act (Penal
13   Code §§ 630, et seq), specifically Penal Code § 632.7. On behalf of a putative class of
14   California callers, Plaintiff alleges that Defendant records telephone calls made to
15   Defendant’s toll-free customer service telephone line without warning or disclosure to
16   inbound callers that their calls might be recorded. Complaint, ¶ 1. A true and correct
17   copy of the Complaint is attached hereto as Exhibit A.            Plaintiff alleges that
18   Defendant’s acts and practices violate Penal Code § 632.7 the moment a recording of a
19   telephone communication is made without the consent of all parties. Ex. A (Complaint,
20   ¶ 2). Plaintiff seeks statutory penalties pursuant to Penal Code § 637.2(a), injunctive
21   relief and attorneys’ fees. On November 27, 2023, Plaintiff personally served the
22   Complaint and Summons on Defendant. A true and correct copy of the Service of
23   Process is attached hereto as Exhibit B.
24         Defendant denies the allegations of wrongdoing in the Complaint and that
25   Plaintiff is entitled to any of the relief requested. At this time, however, the relevant
26   inquiry is whether this Court has jurisdiction over this matter, which it plainly does
27   pursuant to CAFA.
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 1   II.   THIS COURT HAS JURISDICTION UNDER CAFA
 2         Defendant removes the State Court Action pursuant to CAFA, codified under 28
 3   U.S.C. § 1332, subsection (d). Though filed in state court, Plaintiff’s Complaint alleges
 4   facts sufficient to support that this Court has subject matter jurisdiction of this action
 5   pursuant to 28 U.S.C. Section 1332 of the Class Action Fairness Act of 2005. Signed
 6   into law on February 18, 2005, CAFA significantly expanded federal subject matter and
 7   removal jurisdiction over class actions. CAFA vests federal courts with original
 8   jurisdiction for class actions where the parties are minimally diverse and the amount in
 9   controversy exceeds $5,000,000. 28 U.S.C. § 1332(d).
10         CAFA’s requirements are satisfied here.
11         A. Class Action.
12         The State Court Action is a class action as defined by CAFA. According to
13   CAFA:
14         [T]he term “class action” means any civil action filed under rule 23 of the
           Federal Rules of Civil Procedure or similar State statute or rule of judicial
15         procedure authorizing an action to be brought by 1 or more representative
           persons as a class action. . . .
16
17   28 U.S.C. § 1332(d)(1)(B).
18         Plaintiff brings claims on behalf of himself and a proposed class of “[a]ll persons
19   who, while located in California at any time during the one-year period of time
20   preceding the filing of the Complaint in this matter and until said practice is terminated
21   (‘Class Period’), called Defendant’s customer service sales number, from a cellular or
22   cordless telephone, engaged in a telephone conversation with Defendant’s employee(s)
23   or representative(s) and were recorded by Defendant without warning or disclosure at
24   the call outset.” Ex. A (Complaint, ¶ 22). The State Court Action therefore meets the
25   definition of a “class action” under CAFA.
26         B. Removal Under CAFA.
27         CAFA provides that a class action brought against a non-governmental entity
28   may be removed if: (1) the number of proposed class members is not less than 100 (28

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                                        NOTICE OF REMOVAL
 1   U.S.C. § 1332(d)(5)(B)); (2) any member of the proposed plaintiff class is a citizen of
 2   a state different from any defendant (id. at (d)(2)); and (3) the aggregate amount in
 3   controversy exceeds $5 million, excluding interests and costs. Id.; see also § 28 U.S.C.
 4   § 1453(b). Each of these requirements are met here.
 5                 1. The Number of Proposed Class Members Is At Least 100.
 6          This requirement is satisfied because Plaintiff alleges that the class consists of
 7   “more than 100 persons.” Ex. A (Complaint, ¶ 26).
 8                 2. Diversity of Citizenship Under CAFA.
 9          “[U]nder CAFA, complete diversity is not required; ‘minimal diversity’
10   suffices.” Serrano v. 1800 Connect, Inc., 478 F.3d 1018, 1021 (9th Cir. 2007).
11   “Minimal diversity” is met when “any member of a class of plaintiffs is a citizen of a
12   State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A).
13          The parties are minimally diverse. An individual is a citizen of the state where
14   he or she resides. 28 U.S.C. § 1332(a)(1). Plaintiff alleges that he resides in and is a
15   citizen of California. Ex. A (Complaint, ¶ 8).
16          Defendant is not a citizen of California. A corporation is a citizen of “every State
17   . . . by which it has been incorporated and of the State . . . where it has its principal place
18   of business.” 28 U.S.C. § 1332(c)(1); The Hertz Corp. v. Friend, 559 U.S. 77, 92–93
19   (2010) (for diversity jurisdiction, “principal place of business” refers to the “nerve
20   center” of the corporation which is where “a corporation’s officers direct, control, and
21   coordinate the corporation’s activities”). A corporation’s “principal place of business”
22   refers “to the place where a corporation’s officers direct, control, and coordinate the
23   corporation’s activities.” Hertz Corp., 559 U.S. at 92-93. In practice, this is the place
24   “where the corporation maintains its headquarters. Id. at 93. Plaintiff specifically
25   alleges that Defendant “is a Pennsylvania corporation with its headquarters located in
26   Philadelphia, Pennsylvania[.]” Ex. A (Complaint, ¶ 9). Therefore, Defendant is alleged
27   to be a citizen of the state of Pennsylvania, and is, in fact, a citizen of the state of
28   Pennsylvania.

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 1         Because at least one member of the proposed class “is a citizen of a State different
 2   from . . . [D]efendant” (28 U.S.C. § 1332(d)(2)(A)), CAFA’s diversity of citizenship
 3   requirement is satisfied. Moreover, the exceptions listed in 28 U.S.C. § 1332(d)(4)(A)–
 4   (B) do not apply because no defendant is a citizen of California.
 5                3. Amount in Controversy.
 6         CAFA’s third requirement—that the aggregate amount in controversy, exclusive
 7   of interest and costs, exceeds $5 million—is also satisfied. 28 U.S.C. § 1332(d)(2).
 8   Although Defendant maintains that Defendant has not injured Plaintiff or any putative
 9   class member, the alleged amount in controversy here exceeds $5 million. Plaintiff’s
10   Complaint seeks statutory penalties, injunctive relief, and attorneys’ fees, which, in the
11   aggregate, well exceed CAFA’s $5 million threshold. (See Exhibit A, Complaint,
12   Request for Relief).
13         As the Supreme Court has explained, a removing defendant need only plausibly
14   allege that the amount in controversy exceeds CAFA’s threshold: “[A]s specified
15   in §1446(a), a defendant’s notice of removal need include only a plausible allegation
16   that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee
17   Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014); see also Coleman-
18   Anacleto v. Samsung Elecs. Am., Inc., No. 16-CV-02941-LHK, 2016 U.S. Dist. LEXIS
19   123455, at *13 (N.D. Cal. Sep. 12, 2016) (“The ultimate inquiry is what amount is put
20   ‘in controversy’ by the plaintiff’s Complaint, not what a defendant will actually owe.”)
21   (citations omitted); Yeroushalmi v. Blockbuster Inc., No. 05-225, 2005 U.S. Dist.
22   LEXIS 39331, at *10 (C.D. Cal. July 11, 2005) (observing that the amount in
23   controversy provisions under CAFA should be “interpreted expansively” in favor of
24   removal) (quoting S. Rep. No. 109-14, at 42 (2005)).
25         Here, Plaintiff’s allegations demonstrate that the amount in controversy is
26   satisfied. Specifically, Plaintiff defines the putative class as “[a]ll persons who, while
27   located in California at any time during the one-year period of time preceding the filing
28   of the Complaint in this matter and until said practice is terminated (‘Class Period’),

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 1   called Defendant’s customer service sales number, from a cellular or cordless
 2   telephone, engaged in a telephone conversation with Defendant’s employee(s) or
 3   representative(s) and were recorded by Defendant without warning or disclosure at the
 4   call outset.” Ex. A (Complaint, ¶ 22). He further alleges that “the precise number of
 5   Class members and their location can be ascertained through appropriate discovery and
 6   records held by Defendant . . . regarding calls from California area codes to Defendant’s
 7   toll-free customer service sales telephone number.” Ex. A (Complaint, ¶ 26). Plaintiff
 8   claims that the “Class members are entitled to an award of five thousand dollars
 9   ($5,000) per violation pursuant to California Penal Code § 637.2(a)(1).”              Ex. A
10   (Complaint, ¶ 41).
11         Over the one-year statutory period preceding the filing of the lawsuit to date,
12   Defendant has received well over 1,000 calls from individuals identified by California
13   area codes on Defendant’s customer service sales number. If each caller from a
14   California area code received an award of $5,000 as requested by the Plaintiff (id.), the
15   total damages would exceed $5 million, thereby satisfying the minimum amount in
16   controversy.
17         Further, the above analysis does not include attorney’s fees, which Plaintiff seeks
18   (Ex. A (Complaint, Prayer for Relief ¶¶ 4, 8)) and which must be included in the amount
19   in controversy. Fritsch v. Swift Transp. Co. of Ariz., LLC, 899 F.3d 785, 794 (9th Cir.
20   2018) (where “the law entitles [a putative class plaintiff] to an award of attorneys’ fees if
21   he is successful, such future attorneys’ fees are at stake in the litigation, and must be
22   included in the amount in controversy”). Assuming for the sake of this removal only
23   that this Court were to apply a 25% common fund benchmark if Plaintiff were somehow
24   successful, Plaintiff’s attorney’s fees would increase the amount in controversy to well
25   over the threshold $5 million. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir.
26   1998) (“This circuit has established 25% of the common fund as a benchmark award
27   for attorney fees.”).
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                                         NOTICE OF REMOVAL
 1          In short, Plaintiff requests relief that, if granted, would cost Defendant in excess
 2   of $5 million. The alleged amount at issue in Plaintiff’s Complaint plainly exceeds the
 3   jurisdictional minimum under CAFA.
 4   III.   DEFENDANT TIMELY FILED ITS NOTICE OF REMOVAL AND
 5   SATISFIED ALL PROCEDURAL REQUIREMENTS
 6          A. This Notice of Removal is Timely Filed.
 7          This notice of removal is timely pursuant to 28 U.S.C. §§ 1446(b) and 1453(b),
 8   because it is filed within thirty days after service of the Complaint on Defendant. Here,
 9   Defendant was personally served with a conformed copy of the Summons and
10   Complaint on November 27, 2023. Ex. B. Therefore, this Notice of Removal, filed
11   within 30 days of service, is timely filed under 28 U.S.C. §1446(b).
12          B. Defendant Has Satisfied all Procedural Requirements.
13          Venue is proper. Plaintiff filed this action in the Superior Court of the State of
14   California, County of Sacramento. Accordingly, this action is properly removed to this
15   Court, which embraces Sacramento County within its jurisdiction.               28 U.S.C.
16   §§ 1441(a), 1446(a).
17          Additionally, Defendant is the only defendant that Plaintiff has served. The Doe
18   Defendants have not been named or served and therefore do not need to consent to
19   removal. See Soliman v. Philip Morris, Inc., 311 F.3d 966, 971 (9th Cir. 2002).
20          Finally, Defendant provided proper notice. Section 1446(a) requires a removing
21   party to provide this Court with a copy of all “process, pleadings and orders” served on
22   it in the State Court Action. True and correct copies of these documents, which are
23   attached to this removal, are listed below:
24                •      Complaint (Exhibit A)
25                •      Service of Process Transmittal on Defendant (Exhibit B)
26                •      Summons to Defendant & Civil Cover Sheet (Exhibit C)
27                •      Notice of Case Assignment and Case Management Conference
28                       (Exhibit D)

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                                        NOTICE OF REMOVAL
 1            Pursuant to 28 U.S.C. §1446, subsection (d), Defendant is filing a copy of the
 2   Notice of Removal with the Clerk of Sacramento County Superior Court and serving
 3   Plaintiff with the same. A copy of the Notice to the Superior Court (which will be
 4   served upon Plaintiff), without exhibits, is attached hereto as Exhibit E.
 5   IV.      CONCLUSION
 6            Plaintiff’s allegations demonstrate that CAFA’s requirements have been met,
 7   including that (1) the proposed class contains at least 100 members, (2) Plaintiff and
 8   each of the proposed California class members are citizens of a state different than
 9   Defendant’s state of citizenship and no other CAFA exceptions apply, (3) the aggregate
10   amount in controversy exceeds $5 million, and (4) the procedural requirements under
11   28 U.S.C. § 1446 are met. For these reasons, this action is properly removed to this
12   Court.
13
14    DATED: December 22,              ALSTON & BIRD LLP
      2023
15
16                                     By: /s/ Kathy J. Huang
                                         Kathy J. Huang
17                                       Rachel E. K. Lowe
18                                       Attorneys for Defendant
                                         COLONIAL PENN LIFE INSURANCE
19                                       COMPANY
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                                        NOTICE OF REMOVAL
 1                                 PROOF OF SERVICE
           I, Nora Fernandez, declare:
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 3         I am employed in the County of Los Angeles, State of California. I am over the
     age of 18 and not a party to the within action. My business address is Alston & Bird
 4
     LLP, 333 South Hope Street, Sixteenth Floor, Los Angeles, California, 90071.
 5
                  On December 22, 2023, I served the document(s) described as
 6
     DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S NOTICE
 7   OF REMOVAL on the interested parties in this action by enclosing the document(s)
     in a sealed envelope addressed as follows: SEE ATTACHED SERVICE LIST
 8
       BY MAIL: I am “readily familiar” with this firm’s practice for the collection and
 9          the processing of correspondence for mailing with the United States Postal
            Service. In the ordinary course of business, the correspondence would be
10
            deposited with the United States Postal Service at 333 South Hope Street, Los
11          Angeles, California, 90071 with postage thereon fully prepaid the same day on
12
            which the correspondence was placed for collection and mailing at the firm.
            Following ordinary business practices, I placed for collection and mailing with
13          the United States Postal Service such envelope at Alston & Bird LLP, 333 South
14
            Hope Street, Los Angeles, California, 90071.
        UPS NEXT DAY AIR  FEDERAL EXPRESS  OVERNIGHT
15          DELIVERY: I deposited such envelope in a facility regularly maintained by 
16          UPS  FEDERAL EXPRESS  OVERNIGHT DELIVERY [specify name
            of service:                ] with delivery fees fully provided for or delivered the
17          envelope to a courier or driver of  UPS  FEDERAL EXPRESS 
18          OVERNIGHT DELIVERY [specify name of service: ________________]
            authorized to receive documents at Alston & Bird LLP, 333 South Hope Street,
19          Los Angeles, California, 90071 with delivery fees fully provided for.
20     BY ELECTRONIC MAIL TRANSMISSION WITH ATTACHMENT: On this
            date, I transmitted the above-mentioned document(s) by electronic mail
21          transmission with attachment to the parties at the electronic mail address set forth
22          on the attached Service List.
       [State]         I declare under penalty of perjury under the laws of the State of
23                      California that the above is true and correct.
24     [Federal] I declare under penalty of perjury under the laws of the United States
                        of America that the foregoing is true and correct.
25          Executed on December 22, 2023, at Los Angeles, California.
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28                                                      Nora Fernandez

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                                         PROOF OF SERVICE
 1   Mark Cole, et al. v. Colonial Penn Life Insurance Company, et al.
                                  ________
 2
                             SERVICE LIST
 3
 4                                      Attorneys for Plaintiff and Proposed
                                        Class
 5
                                        Zev B. Zysman
 6                                      Law Offices of Zev B. Zysman
                                        Email: zev@zysmanlaca.com
 7                                      Address: 15760 Ventura Blvd., Suite 700
                                        Encino, CA 91436
 8                                      Phone: (818) 783-8836
 9                                      Todd M. Friedman
                                        Adrian R. Bacon
10                                      Law Offices of Todd M. Friedman, P.C.
                                        Email: tfriedman@toddflaw.com
11                                      abacon@toddflaw.com
                                        Address: 21031 Ventura Blvd. Suite 340
12                                      Woodland Hills, CA 91364
                                        Phone: (323) 306-4234
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